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                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                 LUBBOCK DIVISION

     IN RE:                                                  §
                                                             §
     REAGOR-DYKES MOTORS, LP, et al.1                        § Case No. 18-50214-rlj-11
                                                             § Jointly Administered
                          Debtors.                           §




                      SCHEDULES OF ASSETS AND LIABILITIES FOR
                             REAGOR AUTO MALL, LTD.
                                     (18-50324)




1
 The Debtors are Reagor-Dykes Imports, LP (Case No. 18-50215), Reagor-Dykes Amarillo (Case No. 18-50216),
Reagor-Dykes Auto Company, LP (Case No. 18-50217), Reagor-Dykes Plainview, LP (Case No. 18-50218), Reagor-
Dykes Floydada, LP (Case No. 18-50219), Reagor-Dykes Snyder, L.P. (Case No. 18-50321), Reagor-Dykes III LLC
(Case No. 18-50322), Reagor Dykes II LLC (Case No. 18-50323), Reagor Auto Mall, Ltd. (Case No. 18-50324) and
Reagor-Dykes Auto Mall I LLC (Case No. 18-50325)
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         REAGOR-DYKES MOTORS, LP et al.

                                    IN THE UNITED STATES BANKRUPTCY COURT
                                     FOR THE NORTHERN DISTRICT OF TEXAS
                                              LUBBOCK DIVISION

             IN RE:                                                     §
                                                                        §
                 REAGOR-DYKES MOTORS, LP, et al.1                       § Case No. 18-50214-rlj-11
                                                                        § Jointly Administered
                                               Debtor.                  §

                                   GLOBAL NOTES AND STATEMENT OF LIMITATIONS,
                                    METHODOLOGY, AND DISCLAIMER REGARDING
                                      SCHEDULES AND STATEMENTS OF DEBTORS

                                     These Global Notes Relate only to Debtor
                                             Reagor Auto Mall, Ltd.

                 The Schedules of Assets and Liabilities (the “Schedules”)2 and Statement of Financial
         Affairs (the “Statements” and, collectively with the Schedules, the “Schedules and
         Statements”) filed by Reagor-Dykes Snyder, LP; Reagor-Dykes II LLC; Reagor-Dykes III
         LLC; Reagor Auto Mall, Ltd.; Reagor Auto Mall I LLC, as debtors and debtors-in-possession
         (collectively, “Reagor-Dykes” or the “ New Debtors”), in the above-captioned bankruptcy cases
         pending before the United States Bankruptcy Court for the Northern District of Texas, Lubbock

         1
          The Debtors are: Reagor-Dykes Motors, LP (Case No. 18-50214), Reagor-Dykes Imports, LP (Case No. 18-
         50215), Reagor-Dykes Amarillo (Case No. 18-50216), Reagor-Dykes Auto Company, LP (Case No. 18-50217),
         Reagor-Dykes Plainview, LP (Case No. 18-50218), Reagor-Dykes Floydada, LP (Case No. 18-50219), Reagor Auto
         Mall, Ltd. (Case No. 18-50324), Reagor Auto Mall I LLC (Case No. 18-50325), Reagor-Dykes II LLC (Case No.
         18-50323), Reagor-Dykes III LLC (Case No. 18-50322), and Reagor-Dykes Snyder (Case No. 18-50321).
             2
               The term “Schedules” includes: Schedules A/B, D, E/F, G, and H, along with the applicable summaries and all
             attachments appurtenant thereto.

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        Division (the “Bankruptcy Court”) were prepared pursuant to 11 U.S.C. § 521 and Federal
        Rule of Bankruptcy Procedure 1007 by the Debtors’ management, in coordination with the
        Debtors’ Chief Restructuring Officer at BlackBriar Advisors LLC (“BlackBriar”). The
        Schedules and Statements are unaudited. While the persons responsible for the preparation of the
        Schedules and Statements have made a reasonable effort to ensure that the Schedules and
        Statements are accurate and complete based on information known to them at the time of
        preparation after reasonable inquiries, inadvertent errors may exist and/or the subsequent receipt
        of information may result in material changes in financial and other data contained in the
        Schedules and Statements that may warrant amendment of same. Moreover, because the
        Schedules and Statements contain unaudited information that is subject to further review and
        potential adjustment, there be can no assurance that these Schedules and Statements are complete
        or accurate. These Global Notes comprise an integral part of the Schedules and Statements and
        should be referred to and considered in connection with any review of them.

                1.     Cases. On November 2, 2018 (the “Petition Date”), the New Debtors filed
        voluntary petitions for relief under chapter 11 of title 11 of the United States Code, 11 U.S.C. §§
        101 et seq. (the “Bankruptcy Code”). The resulting cases (the “Chapter 11 Cases”) were
        administratively consolidated into Case No. 18-50214. The New Debtors are authorized to
        continue operating their businesses and manage their property as debtors-in-possession pursuant
        to §§ 1107(a) and 1108 of the Bankruptcy Code. “Chapter 11 Case” shall mean the main
        bankruptcy case for Reagor Dykes Motors, LP Case No. 18-50214 with which the New Debtors
        are jointly administered. On December 3, 2018, the New Debtors filed an application to employ
        BlackBriar with the Court as Chief Restructuring Officer of the New Debtors.

                2.     Amendments. New Debtors reserve their right to amend the Schedules and
        Statements in all respects at any time as may be necessary or appropriate, including, without
        limitation, the right to dispute or to assert offsets or defenses to any claim reflected on the
        Schedules and Statements as to amount, to liability, or to classification, or to otherwise
        subsequently designate any claim as “disputed,” “contingent,” or “unliquidated.” Any failure to
        designate a claim as “contingent,” “unliquidated,” or “disputed” does not constitute an admission
        by New Debtors that such claim is not “contingent,” “unliquidated,” or “disputed.”

                3.     Estimates and Assumptions. The preparation of the Schedules and Statements
        requires the New Debtors to make estimates and assumptions that affect the reported amounts of
        assets and liabilities, the disclosures of contingent assets and liabilities on the date of the
        Schedules and Statements, and the reported amounts of revenues and expenses during the
        reporting period.

               4.     Unknown Amounts. Some of the scheduled assets and liabilities may be
        unknown and unliquidated at this time. In such cases, the amounts may be listed as “Unknown”
        or “Unliquidated.” Accordingly, the Schedules and the Statements may not accurately reflect the
        aggregate amount of the New Debtors’ assets and liabilities.

               5.     Prepetition v. Post-Petition. New Debtors have sought to allocate liabilities
        between the pre-petition and post-petition periods based on the information from research that
        was conducted with the preparation of these Schedules and Statements. As additional
        information becomes available and further research is conducted, the allocation of liabilities


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        between pre-petition and post-petition periods may change.

                6.      GAAP. Given the difference between the information requested in the Schedules
        and Statements, and the financial information utilized under generally accepted accounting
        principles in the United States (“GAAP”), the aggregate asset values and claim amounts set forth
        in the Schedules and Statements do not necessarily reflect the amounts that would be set forth in
        a balance sheet prepared in accordance with GAAP.

                7.     Assets. It would be prohibitively expensive, unduly burdensome, and time
        consuming to physically inspect all of the New Debtors’ property interests. Therefore, there can
        be no assurance that the New Debtors owned such property on the Petition Date. To the extent
        an asset is listed on the Schedules and described in the Statements, unless otherwise noted
        therein, such assets disclosed in the Schedules and Statements were included therein as a result
        of the New Debtors’ books and records having reflected the existence of such assets as of the
        Petition Date. The assets disclosed in the Schedules and Statements are not listed therein as a
        result of a comprehensive inspection conducted by the New Debtors.

                8.      Asset Values. It would likewise be prohibitively expensive, unduly burdensome,
        and time consuming to obtain current market valuations of the New Debtors’ property interests.
        Accordingly, to the extent any asset value is listed herein, unless otherwise noted therein, net
        book values rather than current market values of the New Debtors’ property interests are
        reflected in the applicable Schedule. As applicable, assets that have been fully depreciated or
        were expensed for accounting purposes have no net book value. And, unless otherwise
        indicated, all asset amounts are listed as of the New Debtors’ November 1, 2018 Financial
        Statements, which is ending November 1, 2018.

               9.      Causes of Action. Despite making commercially reasonable efforts to identify all
        known assets, the New Debtors may not have listed all of their causes of action or potential
        causes of action against third-parties as assets in the Schedules and Statements, including,
        without limitation, causes of action arising under the provisions of chapter 5 of the Bankruptcy
        Code and any other relevant non-bankruptcy laws to recover assets or avoid transfers.

        The New Debtors reserve all rights with respect to any cause of action (including avoidance
        actions), controversy, right of setoff, cross claim, counterclaim, equitable subordination rights, or
        recoupment and any claim on contracts or for breaches of duties imposed by law or in equity,
        demand, right, action, lien, indemnity, guaranty, suit, obligation, liability, damage, judgment,
        account, defense, power, privilege, license, and franchise of any kind or character whatsoever,
        known, unknown, fixed or contingent, matured or unmatured, suspected or unsuspected,
        liquidated or unliquidated, disputed or undisputed, secured or unsecured, assertable directly or
        derivatively, whether arising before, on, or after the Petition Date, in contract or in tort, in law or
        in equity, or pursuant to any other theory of law (collectively “Causes of Action”) they may
        have, and neither these Global Notes nor the Schedules and Statements shall be deemed a waiver
        of any claims or Causes of Action or in any way prejudice or impair the assertion of such claims
        or Causes of Action.

               10.    Insiders. In the circumstances where the Schedules and Statements require
        information regarding insiders and/or officers and directors, included therein are New Debtors’


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        (a) managers, general partners, and/or limited partners (or persons in similar positions), (b)
        employees that are, or were during the relevant period, officers (or persons in control), (c) family
        members of managers/partners, and (d) affiliates as such term is defined in the Bankruptcy Code.
        The listing of a party as an insider is not intended to be nor should it be construed as a legal
        characterization of such party as an insider and does not act as an admission of any fact, claim,
        right, or defense, and all such rights, claims, and defenses are hereby expressly reserved.
        Further, employees that are not managers or partners have not been included in this disclosure.
        Nothing contained in the Schedules and Statements is deemed to be an admission or legal
        conclusion as the comprehensive scope of the inclusion or exclusion of persons qualifying as
        “insiders” in terms of control of the New Debtors, management responsibilities or functions,
        decision-making or corporate authority and/or as otherwise defined by applicable law, including,
        without limitation, the federal securities laws, or with respect to any theories of liability or for
        any other purpose. The New Debtors reserve all rights to amend, supplement, revise the
        Schedules and Statements with regard to any matters concerning its “insiders,” as such term is
        defined in the Bankruptcy Code and their progeny. The New Debtors reserve all rights to require
        an order from the Bankruptcy Court regarding the scope of particular persons deemed to be
        “insiders.” Item 4 of the Statements requires the New Debtors to disclose payments or transfers
        made within 1 year before filing the bankruptcy case on debts owed to an insider or guaranteed
        or co-signed by an insider unless the aggregate value of all property transferred to or for the
        benefit of the insider is less than $6,425.

                11.    Administrative Claims. The creditors and claims disclosed on the New Debtors’
        Schedule E table of claims subject to priority treatment are an estimate based on the New
        Debtors’ books and records. Out of an abundance of caution, the New Debtors have included the
        creditors and claims in Schedule E; however, the New Debtors may have been over-inclusive in
        the claims and/or amounts set forth therein. Accordingly, the information set forth in Schedule E
        is not to be deemed an admission or an allowance as to the claims disclosed therein. No claims
        will be allowed as an administrative expense priority claim without a prior order from the
        Bankruptcy Court allowing such claim.

                12.     Partners, Directors, or Officers. The New Debtors disclosed the identity of
        certain officers and/or directors in Section 28 of each Statement. The New Debtors’ inclusion of
        these persons in Section 28 of each Statement is not intended to be an admission or a legal
        conclusion as the status of such persons as “Directors,” “Officers,” “Managers,” “Partners,”
        “Insiders,” or otherwise a “person in control” of the Debtor. For the sake of clarity and out of an
        abundance of caution, the New Debtors have included such persons in response to Section 28 of
        the Statement for the purpose of candid disclosure of information in these Bankruptcy Cases.
        The New Debtors reserve all rights to amend, supplement, revise the Schedules and Statements
        with regard to any matters concerning any persons deemed to be “Directors,” “Officers,”
        “Managers,” “Partners,” “Partnerships,” “Insiders,” or otherwise a “person in control” of the
        New Debtors, as such terms may be defined in the Bankruptcy Code and their progeny. The New
        Debtors reserve all rights to require an order from the Bankruptcy Court regarding the scope of
        particular persons deemed to be “Directors,” “Officers,” “Managers,” “Partner,”, “Partnership”
        “Insiders,” or otherwise a “person in control” of the New Debtors.

               13.   Schedule F. As set forth in the New Debtors’ Schedule F table of general
        unsecured creditors, there are multiple creditors disclosed therein whose names and other


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        information have been redacted to protect the New Debtors’ confidential, proprietary and
        competitive information. The New Debtors intend to file a motion for protective order in the
        Bankruptcy Court seeking approval to disclose the redacted information under seal.

               14.    Summary of Reporting Policies and Practices. The following conventions were
        adopted by the New Debtors in preparation of the Schedules and Statements:

                      a.     Fair Market Value; Book Value. Unless otherwise noted therein,
                             the Schedules and Statements reflect the carrying value of the
                             assets/liabilities as listed in the New Debtors’ books and records.
                             Except as set forth above with respect to membership interests
                             owned by the New Debtors, where the current market value of
                             assets is unknown, the New Debtors have based their valuation on
                             book values; however, the actual value may differ. Where known,
                             accumulated depreciation of assets has been noted.
                      b.     Inventories. Unless otherwise noted therein, inventories are valued
                             in the Schedules and Statements at the values indicated on the New
                             Debtors’ books and records, and at the current value of those
                             inventories, as noted in the Schedules and Statements.
                      c.     Leased Real and Personal Property. In the ordinary course of its
                             business, the New Debtors may lease real property and various
                             articles of personal property, including, without limitation,
                             furniture, fixtures and equipment, from certain third-party lessors.
                             The New Debtors have endeavored to include all such leases in the
                             Schedules and Statements. The property subject to leases is not
                             reflected in the Schedules and Statements as either owned property
                             or assets of the New Debtors or property or assets of third-parties
                             within the control of the New Debtors. Nothing in the Schedules
                             or Statements is or shall be construed as an admission or
                             determination as to legal status of any lease (including whether to
                             assume and assign or reject such lease or whether it is a true lease
                             or a financing arrangement) or the assets subject to such leases,
                             and the New Debtors reserve all of its rights with respect to all
                             such issues, including any challenges thereto.
                      d.     Disputed, Contingent and/or Unliquidated Claims. Schedules D,
                             E, and F permit the New Debtors to designate a claim as disputed,
                             contingent, and/or unliquidated. A failure to designate a claim on
                             any of these Schedules and Statements as disputed, contingent,
                             and/or unliquidated does not constitute an admission that such
                             claim is not subject to objection. The New Debtors reserve the
                             right to dispute, or assert offsets or defenses to, any claim reflected
                             on these Schedules and Statements as to amount, liability, or
                             status.
                      e.     Revenues. In reference to Section 1 of Part 1 in Form 207 of the
                             New Debtors’ Statements, the New Debtors’ disclosure of their


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                               gross revenue includes revenue through November 1, 2018. The
                               New Debtors’ books and records for fiscal year 2018 has not yet
                               been closed.
                       f.      Claims. Certain of the Schedules and Statements list creditors of
                               the New Debtors as of the Petition Date. As discussed below, the
                               Court has authorized (but not directed) the New Debtors to, among
                               other things, continue certain prepetition practices regarding some
                               of those claims. Under this authority, the New Debtors paid a
                               number of prepetition claims, including, without limitation, certain
                               prepetition wages and employee compensation/benefits.
                       g.      Employee Claims. The Bankruptcy Court entered an order on,
                               November 9, 2018 [Docket No. 38] authorizing the New Debtors
                               to pay prepetition and post-petition wages, salaries, benefits and
                               other obligations. Accordingly, only employee claims against the
                               New Debtors for prepetition amounts that have not been paid as of
                               the time that the Schedules and Statements were prepared, if any,
                               and employee claims for items not authorized to be paid by order
                               of the Bankruptcy Court, if any, have been included in the
                               Schedules and Statements.

                15.      First-Day Orders. Pursuant to various orders issued by the Court, the New
        Debtors were authorized to pay certain outstanding prepetition claims, including, without
        limitation, to the following claims relating to employee compensation, benefits, and reimbursable
        business expenses. To the extent claims have been paid, such claims have not been listed on the
        Schedules and Statements. To the extent such a claim is listed on the Schedules and Statements,
        inadvertently or otherwise, the New Debtors do not waive any right to amend the Schedules and
        Statements or subsequently object to such claims.

                16.     Ordinary Course of Business. In the ordinary course of its business, the New
        Debtors apply credits against amounts otherwise due to vendors. These credits arise because,
        among other matters, materials ordered and paid for may not be delivered, materials delivered
        are damaged or unusable, and vendors provide volume rebates and cash discounts. Certain of
        these credits are subject to change. Vendor claims are listed at the amounts entered on the New
        Debtors’ books and records as of the Petition Date, which may reflect credits or allowances due
        from such creditors to the Debtor. The actual amount owed or owing by such vendors is subject
        to change upon application of pending and/or future credits and debits. Accordingly, such
        vendor balances are subject to potential amendment in due course of treatment in this
        Bankruptcy Case. The Debtor reserves all of its rights respecting such credits and allowances.

                17.     Executory Contracts and Unexpired Leases. For purposes of the Schedules and
        Statements, the New Debtors have only scheduled claims and executory contracts for which the
        New Debtors may be contractually and/or directly liable. While every reasonable effort has been
        made to ensure the accuracy of Schedule G regarding executory contracts and unexpired leases,
        inadvertent errors or omissions may have occurred. The New Debtors hereby reserve all of their
        rights to dispute the validity, status or enforceability of any contract, agreement, or lease set forth
        on Schedule G that may have expired or may have been modified, amended, and supplemented


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        from time to time by various amendments, restatements, waivers, estoppel certificates, letters and
        other documents, instruments, and agreements which may not be listed on Schedule G. Certain
        of the leases and contracts listed on Schedule G may contain certain renewal options, guarantees
        of payment, options to purchase, rights of first refusal, and other miscellaneous rights. Such
        rights, powers, duties and obligations are not set forth on Schedule G. Certain of the executory
        agreements may not have been memorialized in writing and could be subject to dispute. In
        addition, the New Debtors may have entered into various other types of agreements in the
        ordinary course of its business, such as easements, right of way, subordination, non-disturbance
        and attornment agreements, supplemental agreements, amendments/letter agreements, title
        agreements and confidentiality agreements. Such documents may not be set forth on Schedule
        G. The New Debtors reserve all of their rights to dispute or to challenge the characterization of
        the structure of any transaction, or any document or instrument related to a creditor’s claim. In
        the ordinary course of business, each Debtor may have entered into agreements, written or oral,
        for the provision of certain services on a month-to-month or at-will basis. Such contracts may
        not be included on Schedule G. The New Debtors reserve the right to assert that such
        agreements constitute executory contracts. Listing a contract or agreement on Schedule G does
        not constitute an admission that such contract or agreement is an executory contract or unexpired
        lease. The New Debtors reserve all rights to challenge whether any of the listed contracts,
        leases, agreements or other documents constitute an executory contract or unexpired lease,
        including if any are unexpired non-residential real property leases. Any and all of the Debtor’s
        rights, claims, and causes of action regarding the contracts and agreements listed on Schedule G
        are hereby reserved and preserved.

                18.     Reservation of Rights. Reasonable efforts have been made to prepare and file
        complete and accurate Statements and Schedules; however, inadvertent errors or omissions may
        exist. The New Debtors reserve all rights to (i) amend or supplement the Statements and
        Schedules from time to time, in all respects, as may be necessary or appropriate, including,
        without limitation, the right to amend the Statements and Schedules with respect to claim
        (“Claim”) description or designation; (ii) dispute or otherwise assert offsets or defenses to any
        Claim reflected in the Statements and Schedules as to amount, liability, priority, status or
        classification; (iii) subsequently designate any Claim as “disputed,” “contingent,” or
        “unliquidated;” or object to the extent, validity, enforceability, priority, or avoidability of any
        Claim. Any failure to designate a Claim in the Statements and Schedules as “disputed,”
        “contingent,” or “unliquidated” does not constitute an admission by the New Debtors (or any
        individual debtor) that such Claim or amount is not “disputed,” “contingent,” or “unliquidated.”
        Listing a Claim does not constitute an admission of liability by the Debtor against which the
        Claim is listed. Furthermore, nothing contained in the Statements and Schedules shall constitute
        a waiver of rights with respect to each Debtor’s chapter 11 case, including, without limitation,
        issues involving Claims, substantive consolidation, defenses, equitable subordination, and/or
        causes of action arising under the provisions of chapter 5 of the Bankruptcy Code and any other
        relevant non-bankruptcy laws to recover assets or avoid transfers. Any specific reservation of
        rights contained elsewhere in the Global Notes does not limit in any respect the general
        reservation of rights contained in this paragraph. Notwithstanding the foregoing, the New
        Debtors shall not be required to update the Statements and Schedules except as may be required
        by applicable law.

                   19.   Liabilities. The New Debtors have sought to allocate liabilities between the


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        prepetition and post-petition periods and between Debtor and Non-Debtor entities based on the
        information and research conducted in connection with the preparation of the Statements and
        Schedules. As additional information becomes available and further research is conducted, the
        allocation of liabilities between the prepetition and post-petition periods may change.
        Accordingly, each Debtor reserves all of its rights to amend, supplement, or otherwise modify its
        Statements and Schedules as is necessary or appropriate.

                The liabilities listed on the Schedules do not reflect any analysis of Claims under
        section 503(b)(9) of the Bankruptcy Code. Accordingly, the New Debtors reserve all of their
        rights to dispute or challenge the validity of any asserted Claims under section 503(b)(9) of the
        Bankruptcy Code or the characterization of the structure of any such transaction or any
        document or instrument related to any creditor’s Claim.

                20.     Excluded Assets and Liabilities. The New Debtors have excluded certain
        categories of assets, and liabilities from the Statements and Schedules, including, without
        limitation, certain assets and liabilities that they believe are property or obligations of Non-
        Debtor affiliates. The New Debtors have also excluded rejection damage Claims of
        counterparties to executory contracts and unexpired leases that may or may not be rejected, to the
        extent such damage Claims exist. In addition, certain immaterial assets and liabilities may have
        been excluded.

                The Bankruptcy Court has authorized (but not directed) the New Debtors to pay, in
        their discretion, certain outstanding Claims on a post-petition basis. Prepetition liabilities that
        have been paid post-petition or those that each Debtor anticipates paying via this authorization
        have not been included in the Schedules. Please see the notes to Schedule E/F for additional
        information.

                21.     Intangibles and Intellectual Property. The Debtor may have disclosed on the
        Schedules and Statements various intangibles owned by the Debtor, including, without
        limitation, equity interests, intellectual property, trademarks, copyrights, domain names,
        websites, and the like. The value of such intangible property is listed in the aggregate, and is not
        assigned to any particular category of intellectual property or intangible. There can be no
        assurance that such values are complete or accurate. Exclusion of any intellectual property shall
        not be construed as an admission that such intellectual property rights have been abandoned,
        terminated, assigned, expired by their terms, or otherwise transferred pursuant to a sale,
        acquisition, or other transaction.

                22.     Challenge of Liens. The New Debtors reserve the right to dispute or to challenge
        the validity, perfection, or immunity from avoidance of any lien purported to be granted or
        perfected in any specific asset to a secured creditor listed on Schedule D. Moreover, although
        the New Debtors may have scheduled claims of various creditors as secured claims, the New
        Debtors reserve all of their rights to dispute or to challenge the secured nature of any such
        creditor’s claim or the characterization of the structure of any such transaction or any document
        or instrument related to such creditor’s claim. The descriptions provided on Schedule D are
        intended only to be a summary. Reference to the applicable loan agreements and related
        documents is necessary for a complete description of the collateral and the nature, extent and
        priority of any liens. Nothing in the Global Notes or the Schedules and Statements shall be


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        deemed a modification or interpretation of the terms of such agreements.

                23.     Classifications. Listing (a) a Claim on Schedule D as “secured,” (b) a Claim on
        Schedule E/F as “priority,” (c) a Claim on Schedule E/F as “unsecured,” or (d) a contract on
        Schedule G as “executory” or “unexpired,” does not constitute an admission by any Debtor of
        the legal rights of the claimant or a waiver of any Debtor’s rights to re-characterize or reclassify
        such Claims or contracts or to setoff of such Claims.

                   24.   Currency. Unless otherwise indicated, all amounts are reflected in U.S. dollars.

                25.    Intercompany Payables and Receivables. Intercompany receivables/payables are
        set forth on Schedules B and E/F, respectively. The listing by each Debtor of any account
        between a Debtor and another affiliate is a statement of what appears in the New Debtors’ books
        and records and does not reflect any admission or conclusion of any Debtor regarding the
        allowance, classification, characterization, validity, or priority of such account. The New Debtors
        periodically record intercompany amounts for combined entities, which could result in
        discrepancies for allocation between legal entities. The New Debtors take no position in these
        Statements and Schedules as to whether such accounts would be allowed as a Claim, an Interest,
        or not allowed at all. The New Debtors and all parties in interest reserve all rights with respect to
        such accounts.

               26.      Setoff or Recoupment Rights. The Debtor has not included on Schedule D parties
        that may believe their claims are secured through setoff rights, deposits posted by or on behalf of
        the Debtor, or inchoate statutory lien rights.

               27.     New Debtors’ Addresses. For the purposes of the Statements and Schedules, all
        addresses for all New Debtors have been reported as the New Debtors’ headquarters address in
        Lubbock, Texas.

        Neither the New Debtors, their agents, nor their attorneys guarantee or warrant the accuracy, the
        completeness, or correctness of the data that is provided herein or in the Schedules and
        Statements, and none are liable for any loss or injury arising out of or caused in whole or in part
        by the acts, errors or omissions, whether negligent or otherwise, in procuring, compiling,
        collecting, interpreting, reporting, communication or delivering the information herein. While
        every effort has been made to provide accurate and complete information herein, inadvertent
        errors or omissions may exist. The New Debtors and their agents, attorneys and advisors
        expressly do not undertake any obligation to update, modify, revise or re-categorize the
        information provided herein, or to notify any third party should the information be updated,
        modified, revised or re-categorized. In no event shall the New Debtors or their agents, attorneys
        and advisors be liable to any third party for any direct, indirect, incidental, consequential or
        special damages (including, but not limited to, damages arising from the disallowance of a
        potential claim against the New Debtors or damages to business reputation, lost business or lost
        profits), whether foreseeable or not and however caused, even if the New Debtors or their agents,
        attorneys and advisors are advised of the possibility of such damages.

                                          #END OF GLOBAL NOTES#




4814-6295-4627.2                                          9
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Fill in this information to identify the case:

Debtor name: Reagor Auto Mall, Ltd.

United States Bankruptcy for the District of: Northern Texas
                                                                                                                                  Check if this is an
Case number: 18-50324
                                                                                                                                  amended filing


   Summary of Assets
1. Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B)
1a. Real property:                                                                                               $0.00
        Copy line 88 from Schedule A/B
1b. Total personal property:                                                                                     $12,582,918.21
        Copy line 91A from Schedule A/B
1c. Total of all property:                                                                                       $12,582,918.21
        Copy line 92 from Schedule A/B

   Summary of Liabilities

2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)                                $13,572,338.80
Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D

3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
3a. Total claim amounts of priority unsecured claims:                                                            $442,382.55
        Copy the total claims from Part 1 from line 5a of Schedule E/F
3b. Total amount of claims of nonpriority amount of unsecured claims:                                            $13,416,003.52
        Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F


4. Total Liabilities                                                                                             $27,430,724.87
Lines 2 + 3a + 3b
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 Fill in this information to identify the case:

 Debtor name: Reagor Auto Mall, Ltd.

 United States Bankruptcy for the District of: Northern Texas
                                                                                                                                                          Check if this is an
 Case number: 18-50324
                                                                                                                                                          amended filing


Official Form 206A/B
Schedule A/B: Assets — Real and Personal Property 12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include all property in which the
debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have no book value, such as fully depreciated assets or
assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired
Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write the debtor’s name and case
number (if known). Also identify the form and line number to which the additional information applies. If an additional sheet is attached, include the amounts from the
attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset schedule or depreciation
schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the debtor’s interest, do not deduct the value of secured claims.
See the instructions to understand the terms used in this form.

   Part 1: Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
       Yes. Fill in the information below.


  All cash or cash equivalents owned or controlled by the debtor                                                                       Current value of debtor’s interest


 2. Cash on hand

 2.1                                                                                                                                  $0.00



 3. Checking, savings, money market, or financial brokerage accounts (Identify all)
 Name of institution (bank or brokerage firm)                    Type of account                        Last 4 digits of account #


 3.1     FIRST CAPITAL BANK                                               CERTIFICATE OF                2500                          $960,421.00
                                                                          DEPOSIT


 3.2     IBC BANK                                                         CHECKING                      1765                          $18,793.76

 3.3     IBC BANK                                                         CHECKING                      1897                          $9,315.86

 3.4     PROPERITY BANK                                                   CHECKING                      1282                          $58,872.29



 4. Other cash equivalents (Identify all)
 4.1                                                                                                                                  $0.00




 5. Total of Part 1
 Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.
                                                                                                                                       $1,047,402.91
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  Part 2: Deposits and prepayments
6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.
       Yes. Fill in the information below.



                                                                                                                                 Current value of debtor’s interest
7. Deposits, including security deposits and utility deposits
Description, including name of holder of deposit


7.1      ELECTRICAL - 1211 19TH ST. - LP&L                                                                                      $3,098.00



7.2      ELECTRICAL - 1301 19TH ST. - LP&L                                                                                      $798.00



7.3      ELECTRICAL - 1319 19TH ST. - LP&L                                                                                      $386.00



7.4      ELECTRICAL - LEVELLAND - LAMB COUNTY ELECTRIC                                                                          $1,504.19




8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
Description, including name of holder of prepayment


8.1                                                                                                                             $0.00




9. Total of Part 2
Add lines 7 through 8. Copy the total to line 81.
                                                                                                                                 $5,786.19



  Part 3: Accounts receivable
10. Does the debtor have any accounts receivable?

       No. Go to Part 4.
       Yes. Fill in the information below.



                                                                                                                                 Current value of debtor’s interest
11. Accounts receivable
11a.    90 days old or less: 81,828.24                                   - 0.00                                = ........      $81,828.24
                               face amount                                doubtful or uncollectible accounts



11b.    Over 90 days old:     2,276,081.46                               - 442,639.15                          = ........      $1,833,442.31
                              face amount
                                                                          doubtful or uncollectible accounts




12. Total of Part 3
Current value on lines 11a + 11b = line 12. Copy the total to line 82.
                                                                                                                                 $1,915,270.55
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  Part 4: Investments
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13. Does the debtor own any investments?

       No. Go to Part 5.
       Yes. Fill in the information below.


                                                                                     Valuation method used for current     Current value of debtor’s interest
                                                                                     value
14. Mutual funds or publicly traded stocks not included in Part 1
Name of fund or stock:


14.1                                                                                                                      $0.00




15. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including any interest in
an LLC, partnership, or joint venture
Name of entity:                                                   % of
                                                                  ownership:

15.1                                                                        %                                             $0.00




16. Government bonds, corporate bonds, and other negotiable and non-negotiable instruments not included in Part 1

Describe:


16.1                                                                                                                      $0.00




17. Total of Part 4
Add lines 14 through 16. Copy the total to line 83.
                                                                                                                           $0.00



  Part 5: Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

       No. Go to Part 6.
       Yes. Fill in the information below.



 General description                                  Date of        Net book value of           Valuation method          Current value of debtor’s interest
                                                      the last       debtor's interest           used for current value
                                                      physical       (Where available)
                                                      inventory
19. Raw materials
                                                                    $                                                     $0.00




20. Work in progress
                                                                    $                                                     $0.00




21. Finished goods, including goods held for resale
VEHICLE INVENTORY                                                   $ 7,119,136.56               COST                     $7,119,136.56
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22. Other inventory or supplies
PARTS AND SUPPLIES                                                        $ 847,563.28                N/A                       UNKNOWN




23. Total of Part 5
Add lines 19 through 22. Copy the total to line 84.
                                                                                                                                 $7,119,136.56




24. Is any of the property listed in Part 5 perishable?

      No
      Yes



25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?

      No
      Yes        Book value   $ 30,392.65                         Valuation method   COST                             Current value   $ 30,392.65




26. Has any of the property listed in Part 5 been appraised by a professional within the last year?

      No
      Yes


  Part 6: Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

      No. Go to Part 7.
      Yes. Fill in the information below.



 General description                                                       Net book value of          Valuation method           Current value of debtor’s interest
                                                                           debtor's interest          used for current value
                                                                           (Where available)
28. Crops—either planted or harvested
                                                                          $                                                     $0.00




29. Farm animals Examples: Livestock, poultry, farm-raised fish
                                                                          $                                                     $0.00




30. Farm machinery and equipment (Other than titled motor vehicles)
                                                                          $                                                     $0.00




31. Farm and fishing supplies, chemicals, and feed
                                                                          $                                                     $0.00




32. Other farming and fishing-related property not already listed in Part 6
                                                                          $                                                     $0.00
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33. Total of Part 6
Add lines 28 through 32. Copy the total to line 85.
                                                                                                                                                  $0.00




34. Is the debtor a member of an agricultural cooperative?

         No
         Yes. Is any of the debtor’s property stored at the cooperative?
                         No
                         Yes



35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?

        No
        Yes      Book value $                                       Valuation method                                                Current value $




36. Is a depreciation schedule available for any of the property listed in Part 6?

        No
        Yes



37. Has any of the property listed in Part 6 been appraised by a professional within the last year?

        No
        Yes


  Part 7: Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes. Fill in the information below.



 General description                                                             Net book value of                Valuation method                Current value of debtor’s interest
                                                                                 debtor's interest                used for current value
                                                                                 (Where available)
39. Office furniture
39.1     INCLUDES OFFICE FURNITURE, FIXTURES, AND                               $ 680,538.50                    N/A                             UNKNOWN
         EQUIPMENT



40. Office fixtures
        BREAK OUT NOT AVAILABLE. ALL OFFICE FURNITURE,
40.1                                                                                NOT AVAILABLE                NOT AVAILABLE                  NOT AVAILABLE
        FIXTURES, AND EQUIPMENT INCLUDED IN LINE 39.


 41. Office equipment, including all computer equipment and communication systems equipment and software
 41.1
         BREAK OUT NOT AVAILABLE. ALL OFFICE FURNITURE,
         FIXTURES, AND EQUIPMENT INCLUDED IN LINE 39.                               NOT AVAILABLE                NOT AVAILABLE                  NOT AVAILABLE




42. Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card collections;
other collections, memorabilia, or collectibles

42.1                                                                            $                                                               $0.00
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43. Total of Part 7
Add lines 39 through 42. Copy the total to line 86.
                                                                                                                                        $0.00




44. Is a depreciation schedule available for any of the property listed in Part 7?

       No
       Yes



45. Has any of the property listed in Part 7 been appraised by a professional within the last year?

       No
       Yes


  Part 8: Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

       No. Go to Part 9.
       Yes. Fill in the information below.



 General description                                                        Net book value of             Valuation method              Current value of debtor’s interest
 Include year, make, model, and identification numbers (i.e., VIN,          debtor's interest             used for current value
 HIN, or N-number)                                                          (Where available)
47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles
47.1                                                                       $ 104,585.33                  N/A                           UNKNOWN
INCLUDES ALL MACHINERY, EQUIPMENT, AND VEHICLES




48. Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors, floating homes, personal watercraft, and fishing vessels
48.1                                                                       $                                                           $0.00
BREAKOUT NOT AVAILABLE. ALL MACHINERY, EQUIPMENT,




49. Aircraft and accessories
49.1                                                                       $                                                           $0.00
BREAKOUT NOT AVAILABLE. ALL MACHINERY, EQUIPMENT,




50. Other machinery, fixtures, and equipment (excluding farm machinery and equipment)
50.1                                                                       $                                                           $0.00
BREAKOUT NOT AVAILABLE. ALL MACHINERY, EQUIPMENT,




51. Total of Part 8.
Add lines 47 through 50. Copy the total to line 87.
                                                                                                                                        $0.00




52. Is a depreciation schedule available for any of the property listed in Part 8?

       No
       Yes
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53. Has any of the property listed in Part 8 been appraised by a professional within the last year?

       No
       Yes


  Part 9: Real Property
54. Does the debtor own or lease any real property?

       No. Go to Part 10.
       Yes. Fill in the information below.



55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
 Description and location of property                      Nature and extent of         Net book value of             Valuation method         Current value of
 Include street address or other description such as       debtor’s interest in         debtor's interest             used for current value   debtor’s interest
 Assessor Parcel Number (APN), and type of                 property                     (Where available)
 property (for example, acreage, factory, warehouse,
 apartment or office building), if available.

55.1    405 19TH STREET, LUBBOCK, TX 79401                LEASED - RD7                 $                              N/A                      UNKNOWN
                                                          INVESTMENTS, LLC -
                                                          LANDLORD


55.2    1111 19TH STREET, LUBBOCK, TX 79401               LEASED - D&R                 $                              N/A                      UNKNOWN
                                                          ACQUISITIONS, LLC -
                                                          LANDLORD


55.3    1121, 1211, 1301 AND 1313 19TH ST.,               LEASED - D&R                 $                              N/A                      UNKNOWN
        LUBBOCK, TX 79401                                 ACQUISITIONS, LLC -
                                                          LANDLORD

55.4    1918, 2002 AND 2004 AVE. L, LUBBOCK, TX           LEASED - D&R                 $                              N/A                      UNKNOWN
        79401                                             ACQUISITIONS, LLC -
                                                          LANDLORD

55.5    1307 20TH STREET, LUBBOCK, TX 79401               LEASED - D&R                 $                              N/A                      UNKNOWN
                                                          ACQUISITIONS, LLC -
                                                          LANDLORD


55.6    10307 HWY 87, LUBBOCK, TX 79423                   LEASED - RD7                 $                              N/A                      UNKNOWN
                                                          INVESTMENTS, LLC -
                                                          LANDLORD


55.7    6524 19TH STREET, LUBBOCK, TX 79407               LEASED - CT REALTY -         $                              N/A                      UNKNOWN
                                                          LANDLORD

55.8    LEASEHOLD IMPROVEMENTS                                                         $ 128,453.17                   N/A                      UNKNOWN




56. Total of Part 9.
Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.
                                                                                                                                   $0.00




57. Is a depreciation schedule available for any of the property listed in Part 9?

       No
       Yes
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58. Has any of the property listed in Part 9 been appraised by a professional within the last year?

        No
        Yes


  Part 10: Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes. Fill in the information below.



 General description                                                  Net book value of         Valuation method         Current value of debtor’s interest
                                                                      debtor's interest         used for current value
                                                                      (Where available)
60. Patents, copyrights, trademarks, and trade secrets
60.1      ANY CAR YOU WANT                                            $                        N/A                       UNKNOWN



60.2      ANYCARUWANT.COM                                             $                        N/A                       UNKNOWN



60.3      ANYCARYOUWANT.COM                                           $                        N/A                       UNKNOWN



60.4      EVERY CUSTOMER IS A VIP                                     $                        N/A                       UNKNOWN



60.5      IF WE DON'T HAVE IT, WE WILL FIND IT FOR YOU                $                        N/A                       UNKNOWN



60.6      LET'S ROLL                                                  $                        N/A                       UNKNOWN



60.7      LUXURY IN NOT JUST THE CAR, IT'S THE EXPERIENCE             $                        N/A                       UNKNOWN



60.8      REAGOR-DYKES LUXURY PRE-OWNED                               $                        N/A                       UNKNOWN



60.9      WE ARE, ANY CAR                                             $                        N/A                       UNKNOWN



60.10     WE WIN WHEN YOU WIN                                         $                        N/A                       UNKNOWN



60.11                                                                     $                    N/A                       UNKNOWN
          WELCOME TO LUBBOCK, AMERICA'S FRIENDLIEST CITY


60.12     WELCOME TO LUBBOCK, FRIENDLIEST CITY IN AMERICA         $                            N/A                       UNKNOWN



60.13     WHEN YOU WIN, WE WIN                                        $                        N/A                       UNKNOWN



60.14     YOUR FRIEND IN THE CAR BUSINESS                             $                        N/A                       UNKNOWN




61. Internet domain names and websites
61.1                                                                  $                                                  $0.00
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62. Licenses, franchises, and royalties
62.1                                                                    $                                                     $0.00




63. Customer lists, mailing lists, or other compilations
63.1                                                                    $                               N/A                   UNKNOWN




64. Other intangibles, or intellectual property
64.1                                                                    $                                                     $0.00




65. Goodwill
65.1                                                                    $                               N/A                   UNKNOWN




66. Total of Part 10.
Add lines 60 through 65. Copy the total to line 89.
                                                                                                                               $0.00




67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?

       No
       Yes



68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?

       No
       Yes



69. Has any of the property listed in Part 10 been appraised by a professional within the last year?

       No
       Yes


  Part 11: All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
Include all interests in executory contracts and unexpired leases not previously reported on this form.

       No. Go to Part 12.
       Yes. Fill in the information below.



                                                                                                                               Current value of debtor’s interest
71. Notes receivable
Description (include name of obligor)
71.1     BART REAGOR                         1,247,661.00                      -       0.00                        =         $1,247,661.00
                                             total face amount                         doubtful or uncollectible
                                                                                       amount

71.2     RICK DYKES                          1,247,661.00                      -       0.00                        =         $1,247,661.00
                                             total face amount                         doubtful or uncollectible
                                                                                       amount



72. Tax refunds and unused net operating losses (NOLs)
Description (for example, federal, state, local)
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72.1                                                                                       Tax year                     $0.00




73. Interests in insurance policies or annuities
73.1                                                                                                                    $0.00



74. Causes of action against third parties (whether or not a lawsuit has been filed)
74.1    UNKNOWN - UNDER REVIEW                                                                                          $0.00

Nature of Claim


Amount requested                  $



75. Other contingent and unliquidated claims or causes of action of every nature, including counterclaims of the debtor and rights to set off claims
75.1    UNKNOWN - UNDER REVIEW                                                                                          $0.00

Nature of Claim


Amount requested                  $



76. Trusts, equitable or future interests in property
76.1                                                                                                                    $0.00



77. Other property of any kind not already listed Examples: Season tickets, country club membership
77.1                                                                                                                    $0.00



78. Total of Part 11.
Add lines 71 through 77. Copy the total to line 90.
                                                                                                                         $2,495,322.00




79. Has any of the property listed in Part 11 been appraised by a professional within the last year?

       No
       Yes
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   Part 12: Summary
 In Part 12 copy all of the totals from the earlier parts of the form.

Type of property                                                             Current value of         Current value of real
                                                                             personal property        property

 80. Cash, cash equivalents, and financial assets. Copy line 5, Part 1. $1,047,402.91




 81. Deposits and prepayments. Copy line 9, Part 2.                          $5,786.19




 82. Accounts receivable. Copy line 12, Part 3.                              $1,915,270.55




 83. Investments. Copy line 17, Part 4.                                      $0.00




 84. Inventory. Copy line 23, Part 5.                                        $7,119,136.56




 85. Farming and fishing-related assets. Copy line 33, Part 6.               $0.00




 86. Office furniture, fixtures, and equipment; and collectibles.            $0.00
      Copy line 43, Part 7.




 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.               $0.00




 88. Real property. Copy line 56, Part 9.                                                            $0.00
                                                                                                 

 89. Intangibles and intellectual property.. Copy line 66, Part 10.          $0.00




 90. All other assets. Copy line 78, Part 11.                                $2,495,322.00




 91. Total. Add lines 80 through 90 for each column                   91a.                                       91b.
                                                                              $12,582,918.21                            $0.00




 92. Total of all property on Schedule A/B. Lines 91a + 91b = 92.
                                                                                                                                $12,582,918.21
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 Fill in this information to identify the case:

 Debtor name: Reagor Auto Mall, Ltd.

 United States Bankruptcy for the District of: Northern Texas
                                                                                                                                                        Check if this is an
 Case number: 18-50324
                                                                                                                                                        amended filing


Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property
Be as complete and accurate as possible.

   Part 1: List Creditors Who Have Claims Secured by Property
 1. Do any creditors have claims secured by debtor's property?

        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.



 2. List creditors who have secured claims.If a creditor has more than one secured claim, list the          Column A                       Column B
 creditor separately for each claim.
                                                                                                            Amount of Claim                Value of collateral that
                                                                                                            Do not deduct the value of     supports this claim
                                                                                                            collateral.

 2.1                                                 Describe debtor's property that is subject to         $3,257,100.00                  $ 1,194,263.82
          Creditor's name and mailing address        the lien:
          FIRST BANK & TRUST, 7806 INDIANA           FLOOR PLAN AND PARTS INVENTORY
          AVE., LUBBOCK, TX 79423                    (PARTS VALUE UNKNOWN)

          Date debt was incurred?                    Describe the lien
          VARIOUS                                    FLOOR PLAN AND PARTS INVENTORY
                                                     (PARTS VALUE UNKNOWN)
          Last 4 digits of account number            Is the creditor an insider or related party?
          2988 / 8597                                       No

          Do multiple creditors have an                    Yes
          interest in the same property?             Is anyone else liable on this claim?

                 No                                         No

                 Yes. Specify each creditor,                Yes Fill out Schedule H: Codebtors (Official
                 including this creditor, and its           Form 206H)
                 relative priority.                  As of the petition filing date, the claim is:
                                                     Check all that apply.
          FIRST CAPITAL BANK - LUBBOCK,
          TX                                              Contingent

                                                          Unliquidated

                                                          Disputed
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2.2                                             Describe debtor's property that is subject to         $9,575,238.80   $ 3,519,707.62
      Creditor's name and mailing address       the lien:
      FIRST CAPITAL BANK, 6811 INDIANA          FLOOR PLAN AND PARTS INVENTORY
      AVE., LUBBOCK, TX 79413                   (PARTS VALUE UNKNOWN)

      Date debt was incurred?                   Describe the lien
      VARIOUS                                   FLOOR PLAN AND PARTS INVENTORY
                                                (PARTS VALUE UNKNOWN)
      Last 4 digits of account number           Is the creditor an insider or related party?
      0711                                             No

      Do multiple creditors have an                    Yes
      interest in the same property?            Is anyone else liable on this claim?

             No                                        No

             Yes. Specify each creditor,               Yes Fill out Schedule H: Codebtors (Official
             including this creditor, and its          Form 206H)
             relative priority.                 As of the petition filing date, the claim is:
                                                Check all that apply.
      -FIRST BANK & TRUST - LUBBOCK, TX
      -FORD MOTOR CREDIT CORP                        Contingent
      -GM FINANCIAL COMMERCIAL
      LENDING SERVICES                               Unliquidated

                                                     Disputed


2.3                                             Describe debtor's property that is subject to         $308,850.00     $ UNKNOWN
      Creditor's name and mailing address       the lien:
      FIRST CAPITAL BANK, 6811 INDIANA          RAM VARIOUS ASSETS
      AVE., LUBBOCK, TX 79413                   Describe the lien
      Date debt was incurred?                   VEHICLE INVENTORY
      VARIOUS                                   Is the creditor an insider or related party?
                                                       No
      Last 4 digits of account number
      9938                                             Yes
                                                Is anyone else liable on this claim?
      Do multiple creditors have an                    No
      interest in the same property?
                                                       Yes Fill out Schedule H: Codebtors (Official
             No                                        Form 206H)
             Yes. Specify each creditor,        As of the petition filing date, the claim is:
             including this creditor, and its   Check all that apply.
             relative priority.                      Contingent
      UNKNOWN
                                                     Unliquidated

                                                     Disputed
           Case 18-50214-rlj11 Doc 750 Filed 12/27/18                                     Entered 12/27/18 12:48:06     Page 25 of 36
2.4                                              Describe debtor's property that is subject to         $431,150.00      $     -
       Creditor's name and mailing address       the lien:
       LIBERTY CAPITAL BANK, 5055                FLOOR PLAN
       KELLER SPRINGS RD., #120,                 Describe the lien
       ADDISON, TX 75001                         VEHICLE INVENTORY
       Date debt was incurred?                   Is the creditor an insider or related party?
       VARIOUS
                                                        No

       Last 4 digits of account number                  Yes
       5700                                      Is anyone else liable on this claim?
                                                        No
       Do multiple creditors have an
                                                        Yes Fill out Schedule H: Codebtors (Official
       interest in the same property?
                                                        Form 206H)
              No                                 As of the petition filing date, the claim is:
              Yes. Specify each creditor,        Check all that apply.
              including this creditor, and its        Contingent
              relative priority.
       UNKNOWN                                        Unliquidated

                                                      Disputed




3. Total of the dollar amounts from Part 1, Column A, including the amounts from the                   $13,572,338.80
Additional Page, if any.
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 Fill in this information to identify the case:

 Debtor name: Reagor Auto Mall, Ltd.

 United States Bankruptcy for the District of: Northern Texas
                                                                                                                                                        Check if this is an
 Case number: 18-50324
                                                                                                                                                        amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured
claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets -
Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in
Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

   Part 1: List All Creditors with PRIORITY Unsecured Claims
 1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

        No. Go to Part 2.

        Yes. Go to line 2.



 2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors with
 priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                  Total claim        Priority amount

 2.1      Priority creditor’s name and mailing address                           As of the petition filing date, the claim is:   $ 198,396.16       $198,396.16
                                                                                 Check all that apply.
          EMPLOYEES (INCLUDING WITHHOLDING FOR
          401K, CHILD SUPPORT, AND OTHER PAYROLL                                      Contingent
          DEDICATIONS)
                                                                                      Unliquidated
          Date or dates debt was incurred
           PRIOR TO 11/2/2018                                                         Disputed
                                                                                 Basis for the claim:
          Last 4 digits of account number
                                                                                 PAYROLL
           N/A
                                                                                 Is the claim subject to offset?
          Specify Code subsection of PRIORITY unsecured                                 No
          claim:
                                                                                        Yes
          11 U.S.C. § 507(a) (                )


 2.2      Priority creditor’s name and mailing address                           As of the petition filing date, the claim is:   $ 169,053.68       $169,053.68
                                                                                 Check all that apply.
          INTERNAL REVENUE SERVICE, AUSTIN, TX 73301-
          0010                                                                        Contingent

          Date or dates debt was incurred                                             Unliquidated
           PRIOR TO 11/2/2018
                                                                                      Disputed
          Last 4 digits of account number
                                                                                 Basis for the claim:
           N/A                                                                   PAYROLL, FICA, & INCOME TAX

          Specify Code subsection of PRIORITY unsecured                          Is the claim subject to offset?
          claim:                                                                        No
          11 U.S.C. § 507(a) (                )                                         Yes
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2.3     Priority creditor’s name and mailing address                  As of the petition filing date, the claim is:     $ 41.63                       $41.63
                                                                      Check all that apply.
        TEXAS WORKFORCE COMMISSION, 2505
        LAKEVIEW DR., STE 300, AMARILLO, TX 79109                          Contingent

        Date or dates debt was incurred                                    Unliquidated
         PRIOR TO 11/2/2018
                                                                           Disputed
        Last 4 digits of account number
                                                                      Basis for the claim:
         N/A                                                          PAYROLL - SUTA

        Specify Code subsection of PRIORITY unsecured                 Is the claim subject to offset?
        claim:                                                               No
        11 U.S.C. § 507(a) (             )                                   Yes


2.4     Priority creditor’s name and mailing address                  As of the petition filing date, the claim is:     $ 37,981.09                   $37,981.09
                                                                      Check all that apply.
        401 K PAYABLE
                                                                           Contingent
        Date or dates debt was incurred
         PRIOR TO 11/2/2018                                                Unliquidated

        Last 4 digits of account number                                    Disputed
         N/A                                                          Basis for the claim:
                                                                      PAYROLL - 401K
        Specify Code subsection of PRIORITY unsecured
        claim:                                                        Is the claim subject to offset?

        11 U.S.C. § 507(a) (             )                                   No
                                                                             Yes

2.5     Priority creditor’s name and mailing address                  As of the petition filing date, the claim is:     $ 36,909.99                   $36,909.99
                                                                      Check all that apply.
        TEXAS STATE COMPTROLLER, PO BOX 149349,
        AUSTIN, TX 78714-9348                                              Contingent

        Date or dates debt was incurred                                    Unliquidated
         PRIOR TO 11/2/2018
                                                                           Disputed
        Last 4 digits of account number
                                                                      Basis for the claim:
         N/A

        Specify Code subsection of PRIORITY unsecured                 Is the claim subject to offset?
        claim:                                                               No
        11 U.S.C. § 507(a) (             )                                   Yes



  Part 2: List All Creditors with NONPRIORITY Unsecured Claim
3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill out and
attach the Additional Page of Part 2.

                                                                                                                                                       Amount of claim

3.1     Nonpriority creditor’s name and mailing address                                 As of the petition filing date, the claim is:                 $13,416,003.52
        SEE ATTACHED EXHIBIT F                                                          Check all that apply.
        Date or dates debt was incurred                                                      Contingent

                                                                                             Unliquidated

                                                                                             Disputed
                                                                                        Basis for the claim:


                                                                                        Is the claim subject to offset?
                                                                                               No
                                                                                               Yes
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  Part 3: List Others to BE Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies, assignees
of claims listed above, and attorneys for unsecured creditors.

If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.
 Name and mailing address                                                                On which line in Part 1 or Part 2 is the related          Last 4 digits of
                                                                                         creditor (if any) listed?                                 account number, if
                                                                                                                                                   any

4.1.                                                                                   Line



                                                                                              Not listed. Explain




  Part 4: Total Amounts of the Priority and Nonpriority Unsecured Claims
5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                                    Total of claim amounts

5a. Total claims from Part 1                                                                                                  5a. $442,382.55
5b. Total claims from Part 2                                                                                                  5b. $13,416,003.52
5c. Total of Parts 1 and 2                                                                                                    5c.
                                                                                                                                     $13,858,386.07
Lines 5a + 5b = 5c.
                                                         Case 18-50214-rlj11 Doc 750 Filed 12/27/18         Entered 12/27/18 12:48:06                                    Page 29 of 36

                                                                                                      Schedule F:
                                                                   List In Alphabetical Order All Creditors Who Have Non-priority Unsecured Claims




                                                                                                                                             Unliquidated
                                                                                                                                Contingent


                                                                                                                                                            Disputed
                                                                                                                                                                                                                Is The Claim
                                                                                       Date Debt Was         Last 4 Digits Of                                                                                 Subject To Offset?   Amount of Claim
         Nonpriority Creditor's Name                    Address                           Incurred          Account Number                                                       Basis For The Claim              (Yes/No)               ($)
 3.1 ACCOUNTS PAYABLE                  VARIOUS                                        PRIOR TO 11/2/18                                                                 TRADE ACCOUNTS PAYABLE                        NO               $1,474,587.59
     ACCRUALS (INSURANCE, PAYROLL                                                                                                                                      INSURANCE AND PAYROLL RELATED
 3.2 RELATED)                          VARIOUS                                        PRIOR TO 11/2/18                                                                 ACCRUALS                                      NO                  $28,738.63
                                                                                                                                                                       HEALTH INSURANCE CLAIMS (SELF
 3.3 CAPROCK CLAIMS                    VARIOUS                                        PRIOR TO 11/2/18                                                                 INSURED)                                      NO                 $389,986.26
 3.4 CUSTOMER PAYABLES                 VARIOUS                                        PRIOR TO 11/2/18                                                                 TRADE AND CUSTOMER TRANSACTIONS               NO                 $478,303.87
 3.5 FIRST BANK AND TRUST              7806 INDIANA AVE, LUBBOCK, TX 79423            PRIOR TO 11/2/18                   9347                                          OVERDRAFT                                     NO               $1,599,365.00
 3.6 INSURANCE CLAIMS & PAYMENTS       VARIOUS                                        PRIOR TO 11/2/18                                                                 INSURANCE CLAIMS AND PAYMENTS                 NO                   $6,619.19
     LUBBOCK COUNTY CENTRAL
 3.7 APPRAISAL DISTRICT                2109 AVE A, LUBBOCK, TX 79411                  PRIOR TO 11/2/18                                                                 VEHICLE INVENTORY TAX                         NO                  $35,924.86

 3.8 REGISTRATION, LICENSE & TITLE     VARIOUS                                        PRIOR TO 11/2/18                                                                 REGISTRATION, LICENSE AND TITLE FEES          NO                 $531,242.45
 3.9 VEHICLE PAYABLE                   VARIOUS                                        PRIOR TO 11/2/18                                                                 LIABILITY RELATED TO VEHICLES                 NO               $6,976,666.33
                                                                                                                                                                       LIABILITY RELATED TO VEHICLE
 3.10 VEHICLE PURCHASE                 VARIOUS                                        PRIOR TO 11/2/18                                                                 PURCHASES                                     NO               $1,633,597.34
 3.11 ZURICH                           1299 ZURICH WAY, SCHAUMBURG, IL 60196          PRIOR TO 11/2/18                                                                 WARRANTIES                                    NO                 $260,972.00
                                                                                                                                                                                                                          TOTAL:     $13,416,003.52




In re: Reagor Auto Mall, Ltd.
Case No: 18-50324
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 Fill in this information to identify the case:

 Debtor name: Reagor Auto Mall, Ltd.

 United States Bankruptcy for the District of: Northern Texas
                                                                                                                                                       Check if this is an
 Case number: 18-50324
                                                                                                                                                       amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.

   Schedule G: Executory Contracts and Unexpired Leases
 1. Does the debtor have any executory contracts or unexpired leases?

       No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
       Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B).



  2. List all contracts and unexpired leases                                              State the name and mailing address for all other parties with whom the
                                                                                          debtor has an executory contract or unexpired lease

 2.1    State what the contract      REAL ESTATE LEASE - 405 19TH STREET,               RD7 INVESTMENTS, LLC, 1215 AVE. J, LUBBOCK, TX 79401
        or lease is for and the      LUBBOCK
        nature of the debtor’s
        interest
        State the term remaining     UNSURE OF TERM OR REMAINING
                                     MONTHS
        List the contract number
        of any government
        contract

 2.2    State what the contract      REAL ESTATE LEASE - 1111 19TH STREET,              D AND R ACQUISITIONS, LLC, 1215 AVE. J, LUBBOCK, TX 79401
        or lease is for and the      LUBBOCK
        nature of the debtor’s
        interest
        State the term remaining     UNSURE OF TERM OR REMAINING
                                     MONTHS
        List the contract number
        of any government
        contract

 2.3    State what the contract      REAL ESTATE LEASE - 1121, 1211, 1301 AND           D AND R ACQUISITIONS, LLC, 1215 AVE. J, LUBBOCK, TX 79401
        or lease is for and the      1313 19TH STREET, LUBBOCK
        nature of the debtor’s
        interest
        State the term remaining     UNSURE OF TERM OR REMAINING
                                     MONTHS
        List the contract number
        of any government
        contract

 2.4    State what the contract      REAL ESTATE LEASE - 1918, 2002 AND 2004            D AND R ACQUISITIONS, LLC, 1215 AVE. J, LUBBOCK, TX 79401
        or lease is for and the      AVE. L, LUBBOCK
        nature of the debtor’s
        interest
        State the term remaining     UNSURE OF TERM OR REMAINING
                                     MONTHS
        List the contract number
        of any government
        contract
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2.5    State what the contract    REAL ESTATE LEASE - 1307 20TH STREET,   D AND R ACQUISITIONS, LLC, 1215 AVE. J, LUBBOCK, TX 79401
       or lease is for and the    LUBBOCK
       nature of the debtor’s
       interest
       State the term remaining   UNSURE OF TERM OR REMAINING
                                  MONTHS
       List the contract number
       of any government
       contract

2.6    State what the contract    REAL ESTATE LEASE - 10307 HWY 87,       RD7 INVESTMENTS, LLC, 1215 AVE. J, LUBBOCK, TX 79401
       or lease is for and the    LUBBOCK
       nature of the debtor’s
       interest
       State the term remaining   UNSURE OF TERM OR REMAINING
                                  MONTHS
       List the contract number
       of any government
       contract

2.7    State what the contract    REAL ESTATE LEASE - 6524 19TH STREET,   CP REALTY, LLC, 6613 19TH STREET, LUBBOCK, TX 79407
       or lease is for and the    LUBBOCK
       nature of the debtor’s
       interest
       State the term remaining   60 MONTHS / 37 MONTHS REMAINING
       List the contract number
       of any government
       contract

2.8    State what the contract    COPIER/PRINTER LEASE - HP COLOR         BENCHMARK BUSINESS SOLUTIONS, 1607 BROADWAY ST, LUBBOCK, TX
       or lease is for and the    LASERJET MFP M475                       79401
       nature of the debtor’s
       interest
       State the term remaining   36 MONTHS / 8 MONTHS REMAINING
       List the contract number
       of any government
       contract

2.9    State what the contract    COPIER/PRINTER LEASE - HP COLOR         BENCHMARK BUSINESS SOLUTIONS, 1607 BROADWAY ST, LUBBOCK, TX
       or lease is for and the    LASERJET MFP M477                       79401
       nature of the debtor’s
       interest
       State the term remaining   36 MONTHS / 8 MONTHS REMAINING
       List the contract number
       of any government
       contract

2.10   State what the contract    COPIER/PRINTER LEASE - HP LASERJET      BENCHMARK BUSINESS SOLUTIONS, 1607 BROADWAY ST, LUBBOCK, TX
       or lease is for and the    400 M401N                               79401
       nature of the debtor’s
       interest
       State the term remaining   36 MONTHS / 8 MONTHS REMAINING
       List the contract number
       of any government
       contract

2.11   State what the contract    COPIER/PRINTER LEASE - HP LASERJET      BENCHMARK BUSINESS SOLUTIONS, 1607 BROADWAY ST, LUBBOCK, TX
       or lease is for and the    200 COLOR M251NW                        79401
       nature of the debtor’s
       interest
       State the term remaining   36 MONTHS / 8 MONTHS REMAINING
       List the contract number
       of any government
       contract
           Case 18-50214-rlj11 Doc 750 Filed 12/27/18                      Entered 12/27/18 12:48:06          Page 32 of 36
2.12   State what the contract    COPIER/PRINTER LEASE - HP LASERJET      BENCHMARK BUSINESS SOLUTIONS, 1607 BROADWAY ST, LUBBOCK, TX
       or lease is for and the    400 COLOR M451DN - 12 EACH              79401
       nature of the debtor’s
       interest
       State the term remaining   36 MONTHS / 8 MONTHS REMAINING
       List the contract number
       of any government
       contract

2.13   State what the contract    COPIER/PRINTER LEASE - HP LJ M402       BENCHMARK BUSINESS SOLUTIONS, 1607 BROADWAY ST, LUBBOCK, TX
       or lease is for and the    PRINTER                                 79401
       nature of the debtor’s
       interest
       State the term remaining   36 MONTHS / 8 MONTHS REMAINING
       List the contract number
       of any government
       contract

2.14   State what the contract    COPIER/PRINTER LEASE - HP LJ P3010      BENCHMARK BUSINESS SOLUTIONS, 1607 BROADWAY ST, LUBBOCK, TX
       or lease is for and the                                            79401
       nature of the debtor’s
       interest
       State the term remaining   36 MONTHS / 8 MONTHS REMAINING
       List the contract number
       of any government
       contract

2.15   State what the contract    COPIER/PRINTER LEASE - HP LJ PRO 200    BENCHMARK BUSINESS SOLUTIONS, 1607 BROADWAY ST, LUBBOCK, TX
       or lease is for and the    COLOR MFPM276                           79401
       nature of the debtor’s
       interest
       State the term remaining   36 MONTHS / 8 MONTHS REMAINING
       List the contract number
       of any government
       contract

2.16   State what the contract    COPIES/PRINTER LEASE - LASERJET         BENCHMARK BUSINESS SOLUTIONS, 1607 BROADWAY ST, LUBBOCK, TX
       or lease is for and the    PROFESSIONAL P1109W                     79401
       nature of the debtor’s
       interest
       State the term remaining   36 MONTHS / 8 MONTHS REMAINING
       List the contract number
       of any government
       contract

2.17   State what the contract    COPIER/PRINTER LEASE - LEXMARK C748 -   BENCHMARK BUSINESS SOLUTIONS, 1607 BROADWAY ST, LUBBOCK, TX
       or lease is for and the    5 EACH                                  79401
       nature of the debtor’s
       interest
       State the term remaining   36 MONTHS / 8 MONTHS REMAINING
       List the contract number
       of any government
       contract

2.18   State what the contract    COPIER/PRINTER LEASE - LEXMARK          BENCHMARK BUSINESS SOLUTIONS, 1607 BROADWAY ST, LUBBOCK, TX
       or lease is for and the    MS810N - 6 EACH                         79401
       nature of the debtor’s
       interest
       State the term remaining   36 MONTHS / 8 MONTHS REMAINING
       List the contract number
       of any government
       contract
           Case 18-50214-rlj11 Doc 750 Filed 12/27/18                     Entered 12/27/18 12:48:06             Page 33 of 36
2.19   State what the contract    DEALER OPEN LOT INSURANCE              LANDMARK AMERICAN INSURANCE CO., 945 E. PACES FERRY RD., SUITE
       or lease is for and the                                           1800, ATLANTA, GA 30326
       nature of the debtor’s
       interest
       State the term remaining   12 MONTHS / 10 MONTHS REMAINING
       List the contract number
       of any government
       contract

2.20   State what the contract    INVENTORY SOFTWARE                     VAUTO, 1901 S. MEYERS RD., STE 700, OAK BROOK TERRACE, IL 60181
       or lease is for and the
       nature of the debtor’s
       interest
       State the term remaining   30-DAY CANCELLATION - NO OTHER TERM
       List the contract number
       of any government
       contract

2.21   State what the contract    INVENTORY SOFTWARE                     VINSOLUTIONS, 5700 BROADMOOR, 9TH FLOOR, MISSION, KS 66202
       or lease is for and the
       nature of the debtor’s
       interest
       State the term remaining   30-DAY CANCELLATION - NO OTHER TERM
       List the contract number
       of any government
       contract

2.22   State what the contract    INVENTORY / DEAL SOFTWARE              DEALERTRACK, INC., 3400 NEW HYDE PARK RD., NORTH HILLS, NY 11042
       or lease is for and the
       nature of the debtor’s
       interest
       State the term remaining   EXPIRES ONE YEAR FROM LAST LICENSE -
                                  UNKNOWN DATE
       List the contract number
       of any government
       contract

2.23   State what the contract    REYNA CAPITAL / VARIOUS COMPUTER       REYNA CAPITAL CORPORATION, ONE REYNOLDS WAY, KETTERING, OH
       or lease is for and the    HARDWARE                               45430
       nature of the debtor’s
       interest
       State the term remaining   UNKNOWN
       List the contract number
       of any government
       contract

2.24   State what the contract    REYNOLDS & REYNOLDS                    PO BOX 182206, COLUMBUS OH 43218
       or lease is for and the
       nature of the debtor’s
       interest
       State the term remaining   UNKNOWN
       List the contract number
       of any government
       contract

2.25   State what the contract    COIN DATA LLC / COMPUTER HARDWARE      6700 HOLLISTER, HOUSTON TX 77040
       or lease is for and the
       nature of the debtor’s
       interest
       State the term remaining   UNKNOWN
       List the contract number
       of any government
       contract
           Case 18-50214-rlj11 Doc 750 Filed 12/27/18                 Entered 12/27/18 12:48:06            Page 34 of 36
2.26   State what the contract    KEY TRACK / VEHICLE KEY SOFTWARE   PO BOX 4346 DEPT 663, HOUSTON, TX 77210
       or lease is for and the
       nature of the debtor’s
       interest
       State the term remaining   UNKNOWN
       List the contract number
       of any government
       contract
              Case 18-50214-rlj11 Doc 750 Filed 12/27/18                                            Entered 12/27/18 12:48:06                             Page 35 of 36


 Fill in this information to identify the case:

 Debtor name: Reagor Auto Mall, Ltd.

 United States Bankruptcy for the District of: Northern Texas
                                                                                                                                                                         Check if this is an
 Case number: 18-50324
                                                                                                                                                                         amended filing


Official Form 206H
Schedule H: Codebtors
Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the Additional Page
to this page.

 1. Does the debtor have any codebtors?

        No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
        Yes



 2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of creditors, Schedules D-
 G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule on which the creditor is listed. If the codebtor is liable on a debt to
 more than one creditor, list each creditor separately in Column 2.

  Column 1: Codebtor                                                                               Column 2: Creditor


  Name                            Mailing Address                                                  Name                                                             Check all schedules
                                                                                                                                                                    that apply:

 2.1 BART REAGOR                 1215 AVE. J, LUBBOCK, TX 79401                                   FIRST BANK & TRUST
                                                                                                                                                                        D

                                                                                                                                                                        E/F

                                                                                                                                                                        G

 2.2 BART REAGOR                 1215 AVE. J, LUBBOCK, TX 79401                                   FIRST CAPITAL BANK
                                                                                                                                                                        D

                                                                                                                                                                        E/F

                                                                                                                                                                        G

 2.3 BART REAGOR                 1215 AVE. J, LUBBOCK, TX 79401                                   LIBERTY CAPITAL BANK
                                                                                                                                                                        D

                                                                                                                                                                        E/F

                                                                                                                                                                        G

 2.4 RICK DYKES                  1215 AVE. J, LUBBOCK, TX 79401                                   FIRST BANK & TRUST
                                                                                                                                                                        D

                                                                                                                                                                        E/F

                                                                                                                                                                        G

 2.5 RICK DYKES                  1215 AVE. J, LUBBOCK, TX 79401                                   FIRST CAPITAL BANK
                                                                                                                                                                        D

                                                                                                                                                                        E/F

                                                                                                                                                                        G

 2.6 RICK DYKES                  1215 AVE. J, LUBBOCK, TX 79401                                   LIBERTY CAPITAL BANK
                                                                                                                                                                        D

                                                                                                                                                                        E/F

                                                                                                                                                                        G
                Case 18-50214-rlj11 Doc 750 Filed 12/27/18                             Entered 12/27/18 12:48:06                       Page 36 of 36


  Fill in this information to identify the case:

  Debtor name: Reagor Auto Mall, Ltd.

  United States Bankruptcy for the District of: Northern Texas
                                                                                                                                              Check if this is an
  Case number: 18-50324
                                                                                                                                              amended filing


     Declaration Under Penalty of Perjury for Non-Individual Debtors

    Declaration and signature
  I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another individual
  serving as a representative of the debtor in this case.
  I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

       Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

       Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

       Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

       Schedule H: Codebtors (Official Form 206G)

       Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

       Amended Schedule


       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

       Other document that requires a
  declaration

I declare under penalty of perjury that the foregoing is true and correct.

Executed on             12/27/2018                                                      /s/ Robert Schleizer
                                                                                        Signature of individual signing on behalf of debtor
                                                                                        Robert Schleizer
                                                                                        Printed name
                                                                                        Chief Restructuring Officer
                                                                                        Position or relationship to debtor
